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 4
     Attorney for Defendant, LINDA CALLOWAY
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 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,   )               CASE NO. 05-00443 OWW
                                 )
11        Plaintiff,             )
                                 )               STIPULATION AND ORDER
12   v.                          )               TO CONTINUE SENTENCING
                                 )
13   LINDA CALLOWAY,             )
                                 )
14        Defendant.             )
     ____________________________)
15
16         The parties hereto, by and through their respective attorneys, stipulate and
17   agree that sentencing in the above action be continued from August 28, 2006 at
18   1:30 p.m. until September 11, 2006 at 9:00 a.m. in the above-entitled court.
19         Assistant United States Attorney Kimberly A. Sanchez, upon request of
20   defense counsel, allowed defense counsel additional time needed to prepare and
21   submit the pleading entitled Formal Objections to Advisory Guideline
22   Presentence Investigation Report and Sentencing Memorandum. This stipulation
23   is appropriate to afford Ms. Sanchez a fair opportunity to review, and respond if
24   appropriate, to the referenced pleading.
25         The parties also agree that any delay resulting from this continuance shall
26   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
27   3161(h)(8)(A) and 3161(h)(8)(B)(I).
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 1   DATED: August 22, 2006             /s/ Kimberly A. Sanchez
                                        KIMBERLY SANCHEZ
 2                                      Assistant United States Attorney
                                        This was agreed to by Ms. Kelly
 3                                      via telephone, on August 21, 2006
 4
     DATED: August 22, 2006             /s/ Roger K. Litman
 5                                      ROGER K. LITMAN
                                        Attorney for Defendant
 6                                      LINDA CALLOWAY
 7
 8   IT IS SO ORDERED.
 9   Dated: August 23, 2006                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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